        Case 1:18-cv-00640-PLF Document 40 Filed 12/20/18 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


STUDENT LOAN SERVICING
ALLIANCE,

             Plaintiff,

v.                                             Civil Action No. 18-640 (PLF)

STEPHEN C. TAYLOR, et al.,

            Defendants.


                               NOTICE OF APPEAL

      Notice is given that defendants appeal to the United States Court of Appeals

for the District of Columbia Circuit from the final Order entered by this Court on

November 21, 2018 (ECF No. 38) denying defendants’ motion for summary judgment

and granting plaintiff’s cross-motion for summary judgment as to plaintiff’s Claim

One, and all orders merged therein.

Dated: December 20, 2018.       Respectfully submitted,

                                KARL A. RACINE
                                Attorney General for the District of Columbia

                                TONI MICHELLE JACKSON
                                Deputy Attorney General
                                Public Interest Division

                                /s/ Fernando Amarillas
                                FERNANDO AMARILLAS [974858]
                                Chief, Equity Section

                                /s/ Gregory M. Cumming________
                                GREGORY M. CUMMING [1018173]
                                JESSICA N. KRUPKE [1019967]
                                Assistant Attorneys General
Case 1:18-cv-00640-PLF Document 40 Filed 12/20/18 Page 2 of 2



                     441 Fourth Street, N.W., Suite 630 South
                     Washington, D.C. 20001
                     (202) 724-6627
                     (202) 715-7769 (fax)
                     gregory.cumming@dc.gov

                     Counsel for Defendants




                             2
